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Casez: 2-cr- ” 01 -C§Hl\/l Documem 112 Filed 03/19/05 Page1of3 PagelD 1"4§“’m

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Western District of Tennessee
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UNITED STATES OF AMERICA H.K);M§"{i GOULD
CLE\RK,(" U~-LFS '5]_“| I-:-'\JL)! COUHT
v. case Number 2-. 02@20417£~‘53¥&1\71}’£?51"{°

NICOLE WRIGHT

JUDGMENT AND COMMITMENT ORDER
ON REVOCATION OF SUPERVISED RELEASE

(For Ol'fenscs Committed 011 or After November 1, 1987)

The defendant, NIC()LE WRIGHT, was represented by Mr. L. Daniel Jolnison.

lt appearing that the defendant, Who was sentenced in the above-styled cause by the
Hon. Samuel H. Mays, Jr. on December 15 , 2004, and was placed on further supervised release for
a period of six (6) months, has violated the terms of her supervision, it is hereby ORDERED and
ADJUDGED that defendant’s supervised release be revoked

The defendant shall be placed on additional Supervised Release for a period of six (6)
months The original conditions of defendant’s supervision are re-imposed. The defendant
shall comply with the standard conditions of supervised release as set forth on Page 2 of this
]udgmen.t.

Signed this l 2 }£\ day of August, 2005.

SAMUEL H. MAYS, .IR.
Unjted States District Judge

 

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DEFENDANT : NICOLE WRIGHT
CASE NUMBER: 2:(}2(:R2{]417-03-Ma

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STANDARD CONDITIONS ()F SUPERVISION

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance

The defendant shall not possess a firearm or destructive device.

The defendant shall not leave the judicial district vvithout the permission of the court or probation officer;

The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
and complete Wlitten report within the first five days of each month;

The defendant Sha]l answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

The defendant shall support his or her dependents and meet other family responsibilities',

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons;

The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment;

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer
any narcotic or other controlled substance, or any paraphernalia related to such substances except as prescribed by a
physician;

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed1 or administercd;

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by alaw
enforcement oliicer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
Without the permission of the court',

As directed by the probation ollicer, the defendant shall notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendants compliance with such notification requirement

UNI…ED`TATS DISTRIC COURT - ESTERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
case 2:02-CR-204l7 Was distributed by fax, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

L. Daniel Johnson

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Honorable Samuel Mays
US DISTRICT COURT

